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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  SUHAIL NAJIM ABDULLAH
  AL SHIMARI, et al.,

                             Plaintiffs,             Case No. 1:08-cv-0827 LMB-JFA

                        v.

  CACI PREMIER TECHNOLOGY, INC.,

                             Defendant.


                                 PLAINTIFFS’ STATUS REPORT

         Plaintiffs Al Shimari, Al-Ejaili, and Al-Zuba’e respectfully submit this Status Report to

  advise the Court of Plaintiffs’ position regarding the appropriate course of action following the

  Court of Appeals’ August 23, 2019 decision in Al Shimari v. CACI Premier Technology, Inc.,

  No. 19-1328 (4th Cir. Aug. 23, 2019) (“Al Shimari V”), and subsequent mandate.

         I.      Court of Appeals Proceedings

         Defendant CACI Premier Technology, Inc. (“CACI”) appealed this Court’s March 22,

  2019 decision denying CACI’s motion to dismiss on grounds of derivative sovereign immunity.

  In reliance on the filing of that appeal, this Court vacated a scheduled trial date of April 23,

  2019. (Dkt. No. 1296.) CACI argued, inter alia, that it met the requirements for derivative

  sovereign immunity and that this Court had erred in denying its motion to dismiss on that

  ground. As part of this purportedly limited appeal, CACI nevertheless sought appellate review

  of a number of this Court’s other interlocutory rulings, including: (i) the denial of the United

  States’ sovereign immunity; (ii) the denial of CACI’s motion to dismiss the Alien Tort Statute

  claims under (a) RJR Nabisco, Inc. v. European Community, 136 S. Ct. 2090 (2016) and (b)
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  Jesner v. Arab Bank, PLC, 138 S. Ct. 1386 (2018); (iii) the denial of its motion to dismiss on

  political question grounds and state secrets; and (v) the denial of its motion to dismiss on

  “preemption” grounds. Plaintiffs argued that the Fourth Circuit lacked jurisdiction to hear all

  aspects of the appeal and, in any event, there were factual disputes inherent in CACI’s claim for

  derivative sovereign immunity that would have to be resolved at trial. The Fourth Circuit agreed

  with Plaintiffs on both counts. In an unpublished, two-page opinion, the court summarily

  dismissed CACI’s appeal for lack of jurisdiction because CACI did not appeal a final judgment

  or order and the denial of derivative sovereign immunity was not immediately appealable due to,

  inter alia, “continuing factual disputes regarding whether CACI violated the law or its

  contract.”1 Al Shimari V, slip op. at 4 (unpublished opinion).

         CACI then filed a petition for rehearing or, alternatively, for rehearing en banc, which

  automatically stayed the issuance of the mandate. See id., ECF No. 78. The Fourth Circuit

  summarily denied the petition for rehearing and rehearing en banc, with no judge requesting a

  poll under Federal Rule of Appellate Procedure 35 or briefing from Plaintiffs’ counsel. Id., ECF

  No. 83. CACI then moved to further stay the mandate, arguing that its anticipated certiorari

  petition presented the “substantial question” of whether a denial of derivative sovereign

  immunity is immediately appealable. Id., ECF No. 85. Four days later, that motion was denied

  as well and the mandate issued on October 21, 2019. Id., ECF Nos. 87-88.

         On October 17, 2019, CACI electronically filed a motion to stay the Fourth Circuit’s

  mandate before Chief Justice Roberts as Circuit Justice for the Fourth Circuit, which was

  docketed on October 21, 2019. CACI Premier Tech., Inc. v. Al Shimari, No. 19A430 (U.S. filed

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   In a concurring opinion, Circuit Judge Quattlebaum agreed that Plaintiffs presented sufficient
  “evidence [that] representatives of CACI engaged in . . . the alleged improper conduct as to these
  plaintiffs” such that appellate jurisdiction over CACI’s interlocutory appeal was “lacking.” Id. at
  5 (Quattlebaum, J., concurring).
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  Oct. 17, 2019). That motion faces an extraordinarily high burden. See, e.g., Holtzman v.

  Schlesinger, 414 U.S. 1304, 1314 (1973) (Marshall, J.) (noting that the panel’s decision on the

  applicant’s motion to stay “is entitled to great weight”); see also Conkright v. Frommert, 556

  U.S. 1401, 1401 (2009) (Ginsburg, J.) (“Denial of such in-chambers stay applications is the

  norm; relief is granted only in ‘extraordinary cases.’” (quoting Rostker v. Goldberg, 448 U.S.

  1306, 1308 (1980) (Brennan, J., in chambers))). Without further action from Chief Justice

  Roberts, the mandate issued and jurisdiction returned to the district court. It is therefore

  appropriate now to reschedule the trial and resolve pending pretrial matters.

         II.       Plaintiffs’ Proposal for Proceedings on Remand

         Before CACI took its improper appeal, the parties were three weeks from trial.

  Accordingly, Plaintiffs submit that the parties should appear before the Court to schedule a new

  trial date. Subject to certain scheduling and logistical constraints, Plaintiffs’ case is ready for

  trial except for the resolution of several pending motions. The following motions await a reply

  brief from CACI:

               •   CACI’s Motion in Limine to Exclude Inadmissible Testimony of Plaintiffs’
                   Expert Dr. Xenakis (Dkt. No. 1188);
               •   CACI’s Motion in Limine to Exclude Testimony by Plaintiffs’ Experts Drs. Rejali
                   and Fadel (Dkt. No. 1194);
               •   CACI’s Motion in Limine Regarding Plaintiffs’ Damages Claim (Dkt. No. 1198);
               •   CACI’s Motion in Limine to Exclude Inadmissible Deposition Testimony (Dkt.
                   No. 1205); and
               •   CACI’s Motion in Limine to Exclude Inadmissible Exhibits (Dkt. No. 1218).

  Plaintiffs ask the Court to set a deadline for any reply briefs for these pending motions so that the

  motions can be promptly resolved.

         Plaintiffs’ motion in limine to exclude irrelevant and prejudicial evidence (Dkt. No. 1225)

  is fully briefed and awaiting decision and Plaintiffs’ motion in limine regarding the Taguba and

  Jones-Fay Reports (Dkt. No. 1078) was held in abeyance on February 27, 2019. (Dkt. No.
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  1143.) Also, Plaintiffs’ motion for a written jury questionnaire (Dkt. No. 1211) is fully briefed

  and awaiting decision, and Plaintiffs respectfully request that it be addressed with sufficient time

  in advance of trial to implement the written questionnaire if the Court agrees to employ one.

          At the conference to schedule a new trial date, Plaintiffs request that two other issues also

  be resolved: first, a date for the parties to identify all live witnesses to testify at trial and, second,

  whether testimony excerpted from the pseudonymous depositions will be allowed and, if so, the

  logistics of such testimony. Both parties have also filed objections to each other’s trial exhibits

  and deposition excerpts beyond the matters addressed in the in limine motions. (See Dkt. Nos.

  981, 982, 1006, 1008.)

          Finally, Plaintiffs provide the Court with a brief update on their availability for trial. Mr.

  Al-Ejaili, who resides in Sweden, is ready and able to appear at trial by video link. Messrs. Al

  Shimari and Al-Zuba’e continue to live in an unpredictable and dangerous environment within

  Iraq, where reports of corruption, violence, and deaths continuously make the news.2 Plaintiffs’

  counsel continue to work to make Messrs. Al Shimari and Al-Zuba’e available for trial by video

  link and will endeavor to provide the Court with another update at the next conference.

                                                Respectfully submitted,

                                                   /s/ John Kenneth Zwerling
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   See, e.g., The Guardian, Iraq Protests: UN Demands End to Violence as Death Tolls Nears
  100, Oct. 5, 2019, available at https://www.theguardian.com/world/2019/oct/06/iraq-protests-un-
  demands-end-to-violence-as-death-tolls-nears-100; David D. Kirkpatrick & Eric Schmitt, NY
  TIMES, ISIS Reaps Gains of U.S. Pullout from Syria, Oct. 21, 2019, available at
  https://www.nytimes.com/2019/10/21/world/middleeast/isis-syria-
  us.html?searchResultPosition=7.
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 22, 2019, I electronically filed the Status Report of
  Plaintiffs through the CM/ECF system, which sends notification to counsel for Defendant.



                                                      /s/ John Kenneth Zwerling
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